       Case 2:18-cv-11047-KM-JBC Document 103 Filed 01/11/19 Page 1 of 1 PageID: 1403
                                     UNITED STATED DISTRICT COURT
                                         DISTRICT OF NEW JERSEY
                                        MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                             DATE: January 11, 2019
JUDGE KEVIN MCNULTY
COURT REPORTER: Rhea C. Villanti

TITLE OF CASE:                                             DOCKET # 18-cv-11047
ERIC HANTMAN, et al
       vs.
GARTH ANDRE NAAR, et al

APPEARANCES

Jonathan Cohen, Esq. and Ryan O. Miller, Esq. for Plaintiffs
N. Ari Weisbrot, Esq. for Defendants Garth Andre Naar and Avatar Management LLC
David Klein, Esq., Michael D. Malloy, Esq. and Betsy A. Rosenbloom, Esq. for Defendant Silvan Real Estate
Income Fund, LP

Nature of Proceedings: In Person Status Conference

In Person Status Conference held.

Time Commenced: 10:00
Time Adjourned: 11:00
Total Time: 1 Hour


                                                                  Nitza Creegan
                                                                 DEPUTY CLERK
